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                      EXHIBIT 26
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           IN THE UNITED STATES DISTRICT COURT                         1                   INDEX
            FOR THE DISTRICT OF MASSACHUSETTS                          2    WITNESS: LEWIS WESLEY CARNAHAN
       IN RE: NEURONTIN MARKETING, SALES )                             3              INDEX OF EXAMINATIONS
       PRACTICES AND PRODUCTS LIABILITY )                              4                                  Page/Line

       LITIGATION                   )                                  5    By Mr. Ferguson .....................   6   7

                              )                                        6    By Mr. Soh .......................... 71 16

       __________________________                       )              7    By Mr. Ferguson ..................... 73      7

                              )                                        8
                                                                       9
                              )
                                                                       10
                              ) CASE NO.
                                                                       11
                              ) 04-10981
                                                                       12
       THIS DOCUMENT RELATES TO:                            )
                                                                       13
                              )
                                                                       14
       RUTH SMITH, Individually and as              )
                                                                       15
       Widow for the use and benefit of )
                                                                       16
       herself and the next of kin of       )
                                                                       17
       Richard Smith, deceased.                 )
                                                                       18
                              )
                                                                       19
       05-CV-11515                      )                              20
                              )                                        21
          VIDEOTAPED DEPOSITION OF                                     22
          LEWIS WESLEY CARNAHAN, II, PHARM.D.                          23
          Taken on Behalf of the Defendant                             24
          October 23, 2007                                             25



                                                                  2                                                                    4

   1   APPEARANCES:                                                    1
   2   For the Plaintiff:                                              2             The videotaped deposition of
   3        KENNETH S. SOH
            MAURA C. KOLB                                              3    LEWIS WESLEY CARNAHAN, II, PHARM.D., taken on
   4        Lanier Law Firm                                            4    behalf of the Defendant, on the 23rd day of
            6810 F.M. 1960 West
                                                                       5    October, 2007, in the John Hood Conference Room of
   5        Houston, Texas 77069
            713.659.5200                                               6    Sheraton Music City Hotel, 777 McGavock Pike,
   6        713.659.6416                                               7    Nashville, Tennessee, for all purposes under the
            wml@lanierlawfirm.com
                                                                       8    Federal Rules of Civil Procedure.
   7        kss@lanierlawfirm.com
            mck@lanierlawfirm.com                                      9             The formalities as to notice,
   8                                                                   10   caption, certificate, et cetera, are waived. All
   9   For the Defendant:
                                                                       11   objections, except as to the form of the
  10        KENNETH J. FERGUSON
            Clark, Thomas & Winters                                    12   questions, are reserved to the hearing.
  11        P.O. Box 1148                                              13            It is agreed that Elisabeth A.
            Austin, Texas 78767
  12        512.472.8800                                               14   Miller, being a Notary Public and Court Reporter
            512.474.1129                                               15   for the State of Tennessee, may swear the witness,
  13        kjf@ctw.com
                                                                       16   and that the reading and signing of the completed
  14
       Also Present: Amanda Martin, Videographer                       17   deposition by the witness are waived.
  15            Jason Powers, Videographer                             18
  16
                                                                       19
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  18                                                                   20
  19                                                                   21                   ***
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   1   apologize for that, but you understand that's part          1    when I ask dates, I'm not trying to nail you down
   2   of what I need to do in -- in finding the                   2    on specific dates. Just a general time frame is
   3   information we need?                                        3    what I'm interested in.
   4   A.     Yes.                                                 4    A.    We started dating in October of 1983.
   5   Q.     Okay. Could you tell us briefly about                5    Q.    And when were you married?
   6   your education? Where did you go to undergraduate           6    A.    We were married in December of 1986.
   7   school?                                                     7    Q.    So I take it that you met Richard Smith
   8   A.     I graduated from Middle Tennessee State              8    sometime between 1983 and 1986; is that fair?
   9   University with a BS degree, and then I went to             9    A.    Yes, in 1983.
  10   pharmacy school at Mercer University in Atlanta,            10   Q.    So shortly after you and Donna started
  11   Georgia, and got my Pharm.D. degree there.                  11   dating, you met Mr. Smith, correct?
  12   Q.     And is the Pharm.D. degree the degree that           12   A.    Yes.
  13   typically pharmacists have?                                 13   Q.    And over the years, and particularly the
  14   A.     Yes, it's the only degree that's available           14   years of your -- of your marriage to Donna, how
  15   now.                                                        15   was your relationship with Richard Smith?
  16   Q.     Okay. And how long is that program to --             16   A.    Very good.
  17   to obtain your Pharm.D. degree?                             17   Q.    Very -- very close?
  18   A.     Once you get into the Pharm.D. program,              18   A.    Very close.
  19   it's a four-year program.                                   19   Q.    Let me ask you a couple of questions about
  20   Q.     Okay. When was it that you got out of the            20   some -- some documents that you may or may not
  21   pharmacy program?                                           21   have that -- that were set out in the deposition
  22   A.     I graduated in 1994.                                 22   notice.
  23   Q.     And have you been a practicing pharmacist            23        First of all, did you personally keep any
  24   since that time?                                            24   kind of -- of calendars, logs, notes, anything
  25   A.     Yes.                                                 25   relating to -- to Richard Smith's treatment in,



                                                              10                                                                   12

   1   Q.     How long have you been at the VA Medical             1    say, the last couple of years of his life?
   2   Center?                                                     2    A.    No.
   3   A.     Since 1994.                                          3    Q.    To your knowledge, did your wife, Donna,
   4   Q.     So basically the -- the only position                4    keep any such logs, calendars, or notes regarding
   5   you've had in the field of pharmacy has been at             5    the treatment of her father?
   6   the VA Medical Center?                                      6    A.    Not to my knowledge.
   7   A.     Yes.                                                 7    Q.    Are you aware of any medication bottles,
   8   Q.     Do you have a -- well, do you personally             8    blister packs, or other remaining medications
   9   have some affiliation with Vanderbilt Medical               9    regarding Richard Smith's prescriptions of
  10   School or Vanderbilt University? Excuse me for              10   Neurontin?
  11   interrupting.                                               11   A.    No.
  12   A.     Yes. I do teach a clinical pharmacology              12   Q.    You've never -- if there are any such
  13   course there, one class of that course.                     13   remaining pill bottles, blister packs, anything
  14   Q.     And are you classified as an adjunct                 14   like that, you personally have not seen them?
  15   professor or some such title?                               15   A.    No.
  16   A.     I have no affiliation with Vanderbilt.               16   Q.    Okay. In conversations with your --
  17   Q.     Okay. I take it they pay you something to            17   with -- with Ruth Smith -- and I refer to her as
  18   be teaching this class as well?                             18   your mother-in-law; is that -- is that fair?
  19   A.     No, it is free.                                      19   A.    I understand what you mean.
  20             MR. SOH: Us lawyers don't understand              20   Q.    Okay. And -- and also Donna's sisters, in
  21   that kind of crazy talk.                                    21   talking to Mrs. Smith or the -- or Donna's
  22             MR. FERGUSON: We defense lawyers do.              22   sisters, have you learned whether or not there are
  23   BY MR. FERGUSON:                                            23   any existing pill bottles, blister packs, or
  24   Q.     Dr. Carnahan, when -- when did you meet              24   remaining medications of -- of any prescriptions
  25   Donna Carnahan -- Donna Smith? And I'm not --               25   for Richard Smith of Neurontin?




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   1   up to his back surgery that he had in 2003?                 1    date. But can you remember the general time frame
   2   A.    Yes.                                                  2    when you became aware that he was taking
   3   Q.    How about after his back surgery, which I             3    Neurontin?
   4   believe the records say was -- was done on                  4    A.    I believe it was the Sunday before he
   5   April 1st of 2003, between that time and the time           5    committed suicide.
   6   of his death in May of 2004, did you have                   6    Q.    Okay. And -- and as I recall, the -- he
   7   discussions with him about any ongoing pain that            7    died on May the 13th; is that correct?
   8   he had?                                                     8    A.    Yes.
   9   A.    Yes.                                                  9    Q.    And I believe that was a Thursday; am I
  10   Q.    Is there any way, to your recollection,               10   correct about that?
  11   that you can tell us whether or not the -- the              11   A.    Yes.
  12   pain he was complaining about in, let's say, the            12   Q.    So counting back, if I can count
  13   couple of months before his death was any                   13   correctly -- maybe you can help me. What does
  14   different or more frequent in terms of his                  14   that make Sunday, the 8th or 9th?
  15   conversation with you as compared to the pain he            15           MS. KOLB: The 8th, I think.
  16   was complaining about before his back surgery in            16           MR. FERGUSON: Thank you.
  17   2003?                                                       17   BY MR. FERGUSON:
  18   A.    Not that I'm aware of, no.                            18   Q.    About the 8th of May was the first time
  19   Q.    So, again, not trying to put words in your            19   that you learned that Richard Smith had ever been
  20   mouth. But as I understand what you're saying in            20   on Neurontin; is that correct?
  21   response to my question was generally from your             21   A.    Yes.
  22   discussions with him, his comments about the pain,          22   Q.    So -- and we'll talk about how you became
  23   the frequency and the intensity were about the              23   aware of that on that date. But obviously before
  24   same in the couple of months before his death as            24   May 8, Richard had never come to you and asked
  25   they had been back in 2003, even before his back            25   about Neurontin in relationship to side effects as



                                                              18                                                                 20

   1   surgery; is that a fair statement?                          1    you -- we talked about earlier?
   2           MR. SOH: Objection to form.                         2    A.    No.
   3           MR. FERGUSON: Okay.                                 3    Q.    Okay.
   4           MR. SOH: That's leading. But if he                  4    A.    He had never come to me, but that wasn't
   5   can answer it, go ahead.                                    5    unusual.
   6   BY MR. FERGUSON:                                            6    Q.    Right.
   7   Q.    Is -- is that -- is that correct?                     7    A.    Right.
   8   A.    Restate the question, please.                         8    Q.    You indicated that he occasionally would
   9   Q.    Sure. My understanding of what you told               9    come to you about some medications?
  10   us a moment ago is that his pain, in terms of what          10   A.    Right.
  11   he told you about, was no different in the couple           11   Q.    At least before May 8th of 2004, that had
  12   of months before his death as it -- as compared to          12   never occurred with respect to Neurontin?
  13   the first several months of 2003?                           13   A.    Correct.
  14           MR. SOH: Objection, form.                           14   Q.    And -- and I take it from -- from your
  15           THE WITNESS: He didn't complain of                  15   answer as well that you had never learned before
  16   any increased pain --                                       16   May 8th of 2004 from another source such as
  17   BY MR. FERGUSON:                                            17   Ruth Smith or your wife, Donna, from any other
  18   Q.    Okay.                                                 18   source that he had been on Neurontin?
  19   A.    -- over the period.                                   19   A.    Correct.
  20   Q.    Fair enough.                                          20   Q.    And how did it come about on May 8th of
  21        Did you at some point become aware that --             21   2004 that you learned that Richard was taking a
  22   that Mr. Smith was taking a drug called Neurontin?          22   medication called Neurontin?
  23   A.    Yes.                                                  23   A.    He came to me. We were at a gathering at
  24   Q.    And do you recall about when that was?                24   Sherri's house. I think it was somebody's
  25   Again, I'm not expecting you to know a specific             25   birthday, and we had -- I think we had eaten




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   1   already, and we were just talking.                          1    A.    Because patients that I have seen have
   2          He pulled me aside and asked me about --             2    also described similar side effects to me.
   3   he didn't ask me about side effects. He described           3    Q.    Okay. Side effects from Neurontin?
   4   side effects to me and asked if I thought it was            4    A.    Yes.
   5   the Neurontin.                                              5    Q.    And these are patients who you have --
   6   Q.      Tell me what side effects he described to           6    have seen in your position as a pharmacist at the
   7   you, please.                                                7    VA Medical Center?
   8   A.     He told me that he was feeling loopy. He             8    A.    Yes, patients that I've come in contact
   9   did not feel like himself since taking the                  9    with at the VA.
  10   Neurontin.                                                  10   Q.    Did you have any discussion with
  11   Q.      Did he tell you on that day, May 8th of             11   Richard Smith on May 8th about why he was taking
  12   2004, how long he had been taking Neurontin?                12   Neurontin?
  13   A.     No.                                                  13   A.    I knew he was having some pain, so that
  14   Q.      Did he tell you anything about what dosage          14   was my assumption.
  15   of Neurontin he was taking?                                 15   Q.    Okay. So he didn't say, I'm taking
  16   A.     No.                                                  16   Neurontin for pain; but you knew he was in pain,
  17   Q.      He simply said that he was taking                   17   so you assumed he was taking it for pain?
  18   Neurontin, and he felt loopy and didn't feel like           18   A.    That was my assumption.
  19   himself?                                                    19   Q.    And had you seen -- the other patients you
  20   A.     Yes.                                                 20   had seen who had taken Neurontin, were some of
  21   Q.      Any other side effects that he described            21   them also taking it for pain?
  22   to you on -- during that conversation on May 8th            22   A.    Yes.
  23   of 2004?                                                    23   Q.    So if I understand the conversation
  24   A.     Not that I recall.                                   24   correctly, he pulled you aside, said he was taking
  25   Q.      And did he either volunteer or did you ask          25   Neurontin; could it make him feel loopy and feel



                                                              22                                                                     24

   1   him what he meant by feeling loopy?                         1    like he didn't feel like himself? You said, yes,
   2             MR. SOH: Objection, form.                         2    I've seen that in other patients. Where did the
   3             Answer. Go on. When I object, go                  3    conversation go next, if -- if it continued?
   4   ahead and answer.                                           4    A.    I didn't tell --
   5   BY MR. FERGUSON:                                            5             MR. SOH: Objection. I think it
   6   Q.      If he doesn't want you to answer, he'll             6    mischaracterizes his testimony.
   7   specifically tell you, I'm sure, not to answer.             7             But go ahead and answer.
   8   A.     I'm still thinking also.                             8    BY MR. FERGUSON:
   9   Q.      Take your time. I'm not trying to rush              9    Q.    Okay.
  10   you.                                                        10   A.    I did not tell him that I had seen that in
  11   A.     I don't recall anything offhand, anything            11   other patients. I just said, as I stated earlier,
  12   additionally that he said. He just kept saying              12   it was a possibility.
  13   that it made him loopy; he didn't feel like                 13   Q.    Okay. So when he asked you the question,
  14   himself. And that was the main side effect that             14   you simply said, yes, it's a possibility?
  15   bothered him, so that's what he brought up with me          15   A.    Yes.
  16   in that conversation.                                       16   Q.    And the basis for you saying, yes, it's a
  17   Q.      And was his question to you, I feel                 17   possibility was the other patients you have -- you
  18   like -- I feel loopy and don't feel like myself;            18   had seen?
  19   could the Neurontin I'm taking be causing that?             19   A.    Yes.
  20   Is that what he asked you?                                  20   Q.    Anything else? Any other further
  21   A.     Yes, that was what he was asking.                    21   conversation on that day about Neurontin?
  22   Q.      Okay. And what did you tell him?                    22   A.    No.
  23   A.     I told him that it was a possibility.                23   Q.    Do you know what doctor had prescribed
  24   Q.      And how did you know or believe that was a          24   Neurontin for him?
  25   possibility?                                                25   A.    No, he never told me.




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